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                        UNITED STATES DISTRICT COURT
                                  FOR THE
                            DISTRICT OF VERMONT



ROBERT HICKMAN,                            :
          Petitioner                       :
                                           :
       v.                                  :      File No. 1:92-CR-63-02
                                           :
UNITED STATES OF AMERICA,                  :
          Respondent                       :


                                       ORDER

       The Magistrate Judge's Report and Recommendation was filed April 27,

2005 (Paper 210). After de novo review and absent timely objection, the Report

and Recommendation is AFFIRMED, APPROVED and ADOPTED. See 28 U.S.C.

§ 636(b)(1). The petitioner’s motion for habeas corpus relief (Paper 207), brought

pursuant to 28 U.S.C. § 2241, is DENIED.

       Pursuant to Fed. R. App. P. 22(b), the Court DENIES petitioner a certificate

of appealability (“COA”) because the petitioner failed to make a substantial showing

of a denial of a constitutional right. See 28 U.S.C. § 2253(c)(2). In addition,

because the petition has been dismissed on procedural grounds, the petitioner

cannot be issued a COA due to his failure to demonstrate that “jurists of reason

would find it debatable whether the petition states a valid claim of the denial of a

constitutional right and that jurists of reason would find it debatable whether the

district court was correct in its procedural ruling.” See Slack v. McDaniel, 529 U.S.

473, 120 S.Ct. 1595, 1604 (2000).
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      It is further certified that any appeal taken in forma pauperis from this Order

would not be taken in good faith because such an appeal would be frivolous. See

28 U.S.C. § 1915(a).

      SO ORDERED.

      Dated at Brattleboro, in the District of Vermont, this 16th day of May, 2005.


                                         /s/ J. Garvan Murtha
                                         J. Garvan Murtha
                                         United States District Judge




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